Case 0:24-cv-60382-DSL Document 10 Entered on FLSD Docket 04/05/2024 Page 1 of 3



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 0:24-cv-60382-LEIBOWITZ

  JESSICA PIAFSKY,

          Plaintiff,

  v.

  MB HOME IMPROVEMENTS, INC.,
  et al.,

          Defendants.

  ______________________________________/

                ORDER PROVIDING INSTRUCTIONS TO PRO SE LITIGANTS

          Pro se litigants, like all litigants, must comply with the rules of civil procedure, the Local Rules,

  and the Court’s orders. The Court therefore ORDERS that any and all pro se litigants in this action

  shall comply with all Federal Rules of Civil Procedure and Local Rules for the Southern District of

  Florida. The Local Rules may be obtained from the Clerk of the Court. Failure to comply with the

  federal and local rules may result in sanctions against pro se litigants. Some of the requirements of these

  rules are as follows:

          1. Although a pro se litigant is not entitled to the appointment of counsel in a civil case, a pro

  se litigant may request to participate in the Volunteer Attorney Program of the U.S. District

  Court for the Southern District of Florida by filing a motion for referral to Volunteer Attorney

  Program.      A      form   for   requesting     a   volunteer     attorney     can    be    found     here:

  https://www.flsd.uscourts.gov/How-Request-Volunteer-Attorney-Pro-Bono. The Court, in its

  discretion, may grant the motion and direct the case to be placed on an online list of available cases

  for consideration by volunteer attorneys, who may volunteer to represent the pro se litigant in this case.
Case 0:24-cv-60382-DSL Document 10 Entered on FLSD Docket 04/05/2024 Page 2 of 3



          2. Every pleading, motion, memorandum, or other paper required and/or permitted to be

  filed with the Court must be filed directly with the Clerk of the Court. No letters, pleadings, motions,

  or other documents may be sent directly to the District Judge or Magistrate Judge’s chambers. Any

  papers improperly delivered directly to chambers will be returned and disregarded by the Court.

          3. All filed papers must include the case style, case number, and appropriate title in the format

  required by the Local Rules. See S.D. FLA. L.R. 5.1. The signature block of each pleading must also

  contain the pro se litigant’s name, address, and telephone number.

          4. All papers filed with the Clerk of Court must also be served on the opposing counsel, or

  the opposing side if the opposing side is not represented by counsel. Each filing must include a

  certificate of service indicating the name and address of the attorney (or person) served.

          5. Litigants must promptly notify the Court of any change in address by filing a “Notice of

  Change of Address,” which also must be served on opposing counsel. Pro se litigants are required

  to supply the Court with their email address(es) and telephone number(s) to facilitate

  communication and the timely receipt of Court orders.

          6. A pro se litigant who wishes to oppose a motion must respond in writing within the time

  periods provided by the Local Rules and the rules of procedure.

          7. No litigant may call the Judge’s chambers for legal advice about the case. This prohibition

  applies equally to the litigant’s friends, family, or acquaintances. Brief case status information may be

  available from the Clerk of Court.

          8. A pro se litigant bears responsibility for actively pursuing or defending his or her case and

  must obtain any essential discovery, file all necessary pleadings and motions, comply with all

  scheduling orders, and prepare the case for trial.
Case 0:24-cv-60382-DSL Document 10 Entered on FLSD Docket 04/05/2024 Page 3 of 3



        DONE AND ORDERED in Chambers at Ft. Lauderdale, Florida on April 4, 2024.




  cc:   Roi Neeman, pro se
        counsel of record
